       Case 6:07-cr-10180-EFM           Document 366       Filed 04/01/10      Page 1 of 2




                      IN THE UNITED STATES DISTRICT COURT FOR
                               THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                    )
                                             )
                       Plaintiff,            )
                                             )
       v.                                    )               Case No. 07-10180-06-WEB
                                             )
ANDREW S. WANG,                              )
                                             )
                      Defendant.             )


                                    MEMORANDUM AND ORDER

       Before the court is the defendant’ Motion to Amend Presentence Investigation Report

(Doc. 357). The defendant states that he was not completely truthful with the probation officer

completing his presentence investigative report, and he wants the report amended to reflect his

addiction to prescription drugs and alcohol. The Defendant has provided doctor prescriptions

and medical records to show the number of prescriptions he had obtained. The Defendant

requests the court amend his presentence report to allow him to gain entry to the residential drug

and alcohol program in the Bureau of Prisons.

       Challenges to a PSI after sentencing must be based on a statute or rule which give the

court jurisdiction to consider the challenge. United States v. Warner, 23 F.3d 287, 290 (10th Cir.

1994). Subsequent to sentencing, there is not an independent jurisdictional basis for attacking

the accuracy of a presentence report. Id., n. 3. This court is without jurisdiction to amend the

presentence report.

       IT IS THEREFORE ORDERED that the petitioner’s Motion to Amend Presentence

Investigation Report (Doc. 357) is denied.
Case 6:07-cr-10180-EFM      Document 366        Filed 04/01/10   Page 2 of 2




IT IS SO ORDERED this 1st day of April, 2010.



                                           s/ Wesley E. Brown
                                         Wesley E. Brown
                                         United States Senior District Court Judge
